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 5

 6   Attorney for Defendant,
     LUIS MAURICIO CASTENON
 7

 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                               ******
11   UNITED STATES OF AMERICA.                      )   CASE NO.: 1:22-CR-00309-ADA-BAM
                                                    )
12                  Plaintiff,                      )   STIPULATION REGARDING
                                                    )   EXCLUDABLE TIME PERIODS UNDER
13          v.                                      )   SPEEDY TRIAL ACT; ORDER
                                                    )
14
     LUIS MAURICIO CASTENON,                        )   Date: August 9, 2023
                                                    )   Time: 1:0 pm
15
                    Defendant.                      )   Hon. Barbara A. McAuliffe
                                                    )
16
                                                    )
17

18
                                            STIPULATION

19

20
            The United States, by and though Assistant United States Attorney, Kimberly Sanchez

21
     and the Defendant, Luis M. Castenon, by and through his Attorney, Anthony P. Capozzi, hereby

22
     stipulate as follows:

23
        1. By previous order this matter was set for status on August 9, 2023.

24
        2. By this Stipulation, defendant moves to continue the status conference until October 11,

25
            2023, and to exclude time between August 9, 2023, and October 11, 2023, inclusive,

26
            under Local Code T4.

27
        3. The parties agree and stipulate and request that the Court find the following:

28
            a) Attorney Anthony P. Capozzi was appointed to represent Luis M. Castenon on May
                 13, 2023.

                                                    1
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             b)
 1                The discovery was received on June11, 2023.1
 2           c) Defense counsel has not had the opportunity to review the discovery due to jury trial
 3                schedule.
 4           d) Counsel for the defense needs additional time to review the discovery and consult
 5                with his client.
 6           e) Counsel for the defendant believes that failure to grant the above, requested
 7                continuance would deny him the reasonable time necessary for the effective
 8                preparation of the defense.
 9           f) The Government does not object to the continuance.
10           g) Based on the above-states findings, the ends of justice served by the continuing the
11                case as requested outweigh the interest of the public and the defendant in a trial
12                within the original date prescribed by the Speedy Trial Act.
13           h) For the purpose of completing time under the Speedy Trial Act. 18 U.C.S. § 3161, et
14                seq., within which trial must commence, the time period of August 9, 2023, to
15                October 11, 2023, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161
16                (h)(7)(A), B(i), B(ii), and B(iv) [Local Code T4] because the case is so unusual or so
17                complex of the nature of the prosecution, or the existence of novel questions of fact or
18                law, that it is unreasonable to expect adequate preparation for pretrial proceedings or
19                for the trial itself within the time eliminates established by the section. This
20                stipulation also results from a continuance granted by the Court at defendant’s request
21                on the basis of the Court’s finding that the ends of justice served by taking such
22                action outweigh the best interest of the public and the defendant in a speedy trial.
23       4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
24           Speedy Trial Act dictated that additional time periods are excludable from the period
25           within which a trial must commence.
26

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28
     1. Discovery was provided to prior counsel, however due to a protective order did not feel comfortable with
     forwarding the discovery to new counsel.
                                                       2
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 1          IT IS SO STIPULATED.
 2

 3

 4   Dated: July 31, 2023,                        By: /s/ Anthony P. Capozzi_________________
                                                  ANTHONY P. CAPOZZI, Attorney for
 5
                                                  LUIS MAURICIO CANTENON
 6

 7   Dated: July 31, 2023,                        By: /s/ Kimberly A. Sanchez________________
                                                  KIMBERLY A. SANCHEZ, Assistant United
 8                                                States Attorney
 9

10

11                                               ORDER

12          IT IS SO ORDERED that the status conference is continued from August 9, 2023, to

13   October 11, 2023, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is

14   excluded pursuant to 18 U.S.C. § 3161 (h)(7)(A), B(i), B(ii), and B(iv).

15      IT IS SO ORDERED.
16
        Dated:     August 3, 2023                            /s/ Barbara A. McAuliffe           _
17                                                     UNITED STATES MAGISTRATE JUDGE
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                                STIPULATION REGARDING EXCLUDABLE TIME
